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                                                                           DOCUMENT
UNITED STATES DISTRICT COURT
                                                                           ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                           DOC#:
NEELU PAL, M.D.,                                                           DATE FILED: March 25, 2011

                                        Plaintiff,

                   - against-                                              06 Civ. 5892 (PAC) (FM)

NEW YORK UNIVERSITY,                                                       ORDER

                                         Defendant.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

HONORABLE PAUL A. CROTTY, United States District Judge:

          Defendant New York University ("NYU") moves for reconsideration of the Court's

Order of May 27,2010 denying its request to seal two exhibits submitted at trial by Plaintiff

Neelu Pal ("Pal"). Pal v. N.Y. Univ., No. 06 Civ. 5892(p AC)(FM), 2010 WL 2158283

(S.D.N.Y. May 27, 2010). The New York Times and Thompson Reuters requested access to the

exhibits but have not formally intervened. The motion is opposed by Pal, who claims that she

needs these documents to explain her termination to prospective employers. As noted in the May

27, 2010 Order, Pal had taken "no position" when the media first sought access to these exhibits.

Despite her lack of opposition, the Court determined that New York's quality assurance privilege

did not require sealing these two exhibits because they do not concern patient care; they contain

the findings of NYU's investigation into fellows permitted to work in the bariatric program

without proper credentials.

          "Reconsideration of a previous order by the court is an extraordinary remedy to be

employed sparingly in the interests of finality and conservation of scarce judicial resources."

Hinds County, Miss. v. Wachovia Bank N.A., 700 F. Supp. 2d 378, 407 (S.D.N.Y. 2010)

(internal quotation marks omitted). "The standard for granting such a motion is strict, and
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reconsideration will generally be denied unless the moving party can point to controlling

decisions or data that the court overlooked, , , ." Shrader v. CSX Transp., 70 F.3d 255,257 (2d

Cir. 1995). "The major grounds justifying reconsideration are 'an intervening change in

controlling law. the availability of new evidenee, or the need to correct a clear error or prevent

manifest injustice.'" Hinds County, 700 F.Supp.2d at 407 (quoting Virgin Atl. Airways, Ltd. v.

National Mediation Bd., 956 F.2d 1245, 1255 (2d Cir.l992». None of these bases for

recousideration applies here. Rather, NYU essentially asserts the same arguments that were

rejected in the May 27,2010 Order, the reasoning of which is still valid. Accordingly, the

motion for reconsideration is denied. The Clerk of Court is directed to terminate the motion at

Docket # 111.


Dated: New York, New York
       March 25, 2011

                                                      SO ORDERED




                                                      PA~
                                                      United States District Judge




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